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UNITED STATES DISTRICT COURT rene a
CENTRAL DISTRICT OF CALIFORNIA ch i
S153
CRIMINAL MINUTES-GENERAL Sean Only ¢—
Case No. CR 04-262(C)-RHW USA v. Brian Castro Date July 14, 2006

PRESENT: HON, ROBERT H. WHALEY, DISTRICT JUDGE

Cynthia Salyer/Michelle Fox Gail Peeples N/A
Deputy Clerk Court Reporter Interpreter
Elizabeth Fishman David Currie

Assistant U.S. Attorney Attorney for Defendant

 

Defendant BRIAN CASTRO present and in custody

PROCEEDINGS: SENTENCING

Government submits argument by documents previously filed. Court hears from defendant. D.
Currie presents argument.

COURT requests further information. Recess to allow counsel time to find out the information.

Recess 11:35 am - Reconvene 12:00 pm

COURT reviews documents provided. E. Fishman presents argument. D. Currie presents
argument.

COURT adopts calculations in presentence report. Deny Motions, Sentences defendant. Dismiss
remaining counts.

See judgment.

11:25 am - 11:35 am
12:00 pm - 12:15 pm

Initials of Deputy Clerk
RIMINAL MINUTES -~-GENERAL

 

  
 

 

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7 United States District Court
Central District of California

UNITED STATES OF AMERICA vs. Docket No. CR 04-262(C)-RHW iL

Social Security a

Defendant _ BRIAN CASTRO No. 7T 6 6 4 i
akas: Brian Christian Castro (T/N); aka None (Last 4 digits)

 

JUDGMENT AND PROBATION/COMMITMENT ORDER

MONTH DAY YEAR

 

 

 

 

 

In the presence of the attorney for the government, the defendant appeared in person | 7 14-2006
WITH
COUNSEL OUNSEL , " DAVID CURRIE, Retained
(Name of Counsel)
PLEA GUILTY, and the court being satisfied that there is a factual basis NOLO
for the plea. CONTENDERE NOT
—<—<—_—_—_—_—_" GUILTY
There being a GUILTY, defendant has been convicted as charged of the offense(s)

FINDING | finding/verdict of of:

 

Conspiracy with intent to distribute & distribution of Cocaine, in violation of 21 USC 846, as alleged
in count 1; Possession with intent to distribute Cocaine, in violation of 21 USC 841(a)(1),(b)(1)(A), as
alleged in count 10 of the third Superseding Indictment.

JUDGMEN| The Court asked whether defendant had anything to say why judgment should not be pronounced.
TAND | Because no sufficient cause to the contrary was shown, or appeared to the Court, the Court adjudged the
PROB/ | defendant guilty as charged and convicted and ordered that: Pursuant to the Sentencing Reform Act of
COMM | 1984, it is the judgment of the Court that the defendant is hereby committed to the custody of the Attorney
ORDER | General or his authorized representative for imprisonment for a period of 57 MONTHS.

The Court recommends defendant be given the opportunity to participate in a drug treatment program
pursuant to U.S. Bureau of Prisons guidelines. The Court also recommends defendant serve his sentence
at a facility in San Pedro if he is eligible pursuant to U.S. Bureau of Prisons guidelines.

 

| The Court dismisses remaining counts.

It is ordered that the defendant shall pay to the United States a special assessment of $200, which is due
immediately.

Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that the defendant, Brian
Castro, is hereby committed on Counts 1 and 10 of the Third Superseding Indictment (TSI) to the custody of

the Bureau of Prisons to be imprisoned for a term of 57 months.

This term consists of 57 months on each of Counts 1 and 10 of the TSI to be served concurrently.

 

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Upon release from imprisonment, the defendant shall be placed on supervised release for a term of 5 years.
This term consists of five (5) years on each of Counts 1 and 10, all such terms to run concurrently, under the

following terms and conditions: #

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1, The defendant shall comply with the rules and regulations of the U. S. Probation ™"
Office and General Order 318;

2. The defendant shall refrain from any unlawful use of a controlled substance. The
defendant shall submit to 1 drug test within 15 days of release from imprisonment
on probation and at least 2 periodic drug tests thereafter, not to exceed eight tests
per month, as directed by the Probation Officer;

3, During the period of community supervision the defendant shall pay the special
assessment in accordance with this judgment's orders pertaining to such payment;

4, The defendant shall cooperate in the collection ofa DNA sample from the defendant;
and

5. The defendant shall submit to drug testing and/or treatment and to random, warrantless searches
of his person and/or property as directed by the Probation Officer.

In addition to the special conditions of supervision imposed above, it is hereby ordered that the Standard Conditions
of Probation and Supervised Release within this judgment be imposed. The Court may change the conditions of
supervision, reduce or extend the period of supervision, and at any time during the supervision period or within the
maximum period permitted by law, may issue a warrant and revoke supervision for a violation occurring during the
supervision period.

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Chusust &, 200 Z
Date’ . i/ District ee H. WHALEY
It is ordered that the Clerk deliver a copy of this Judgment and Probation/Commitment Order to the U.S. Marshal or

other qualified officer.

glaloG

Filed Date

 

 

 

 

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BRIAN CASTRO

. Docket No.:

CR04-262(C)-RHW

 

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The defendant shall comply with the standard conditions that have been adopted by this court (set forth below),

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STANDARD CONDITIONS OF PROBATION AND SUPERVISED RELEASE

While the defendant is on probation or supervised release pursuant to this judgment:

The defendant shall not commit another Federal, state or local crime;
the defendant shall not leave the judicial district without the written
permission of the court or probation officer;

ihe defendant shall report to the probation officer as directed by the
court or probation officer and shall submit a truthful and complete
written report within the first five days of each month,

the defendant shall answer truthfully all inquiries by the probation
officer and follow the instructions of the probation officer,

the defendant shall support his or her dependents and meet other
family responsibilities;

the defendant shall work regularly at a lawful occupation unless
excused by the probation officer for schooling, training, or other
acceptable reasons;

the defendant shall notify the probation officer at least 10 days prior
to any change in residence or employment;

the defendant shall refrain from excessive use of alcohol and shall not
purchase, possess, use, distribute, or administer any narcotic or other
controlled substance, or any paraphernalia related to such substances,
except as prescribed by a physician;

the defendant shall not frequent places where controlled substances
are illegally sold, used, distributed or administered;

10.

11.

15.
16.

the defendant shail not associate with any persons engaged in
criminal activity, and shall not associate with any person convicted
of a felony unless granted permission to do so by the probation
officer; .

the defendant shall permit a probation officer to visit him or her at
any time at home or elsewhere and shall permit confiscation of any
contraband observed in plain view by the probation officer,

the defendant shall notify the probation officer within 72 hours of
being arrested or questioned by a law enforcement officer;

the defendant shall not enter into any agreement to act as an informer
or a special agent of a law enforcement agency without the
permission of the court;

as directed by the probation officer, the defendant shall notify third
parties of risks that may be occasioned by the defendant’s criminal
record or personal history or characteristics, and shall permit the
probation officer to make such notifications and to conform the
defendant’s compliance with such notification requirement;

the defendant shall, upon release from any period of custody, report
to the probation officer within 72 hours;

and, for felony cases only: not possess a firearm, destructive device,
or any other dangerous weapon.

The defendant will also comply with the following special conditions pursuant to General Order 01-05 (set

forth below).

 

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JUDGMENT & PROBATION/COMMITMENT ORDER

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STATUTORY PROVISIONS PERTAINING TO PAYMENT AND COLLECTION OF FINANCIAL

- SANCTIONS
The defendant shall pay interest on a fine or restitution of more than $2,500, unless the court waives interés or unless
the fine or restitution is paid in full before the fifteenth (15") day after the date of the judgment pursuant 0) r18 U.S.C.
§3612(f)(1). Payments may be subject to penalties for default and delinquency pursuant to 18 U.S.C. §3612(¢). Interest
and penalties pertaining to restitution , however, are not applicable for offenses completed prior to April 24, 1996.
If all or any portion of a fine or restitution ordered remains unpaid after the termination of supervision, the defendant
shall pay the balance as directed by the United States Attorney’s Office. 18 U.S.C. §3613.
The defendant shall notify the United States Attorney within thirty (30) days of any change in the defendant’s mailing
address or residence until all fines, restitution, costs, and special assessments are paid in full. 18 U.S.C. §3612(b)(L)(F).
The defendant shall notify the Court through the Probation Office, and notify the United States Attorney of any material
change in the defendant’s economic circumstances that might affect the defendant’s ability to pay a fine or restitution,
as required by 18 U.S.C. §3664(k). The Court may also accept such notification from the government or the victim,
and may, on its own motion or that of a party or the victim, adjust the manner of payment of a fine or restitution-
pursuant to 18 U.S.C. §3664(k). See also 18 U.S.C. §3572(d)(3) and for probation 18 U.S.C. §3563(a)(7).
Payments shall be applied in the following order:
1. Special assessments pursuant to 18 U.S.C. §3013;
2. Restitution, in this sequence:
Private victims (individual and corporate),
Providers of compensation to private victims,
The United States as victim;
3. Fine;
4, Community restitution, pursuant to 18 U.S.C. §3663G); and
5. Other penalties and costs.

 

RETURN

Ihave executed the within Judgment and Commitment as follows:

Defendant delivered on to

 

Defendant noted on appeal on

 

Defendant released on

 

Mandate issued on

 

Defendant’s appeal determined

 

 

 

 

 

 

on
Defendant delivered on to

at

the institution designated by the Bureau of Prisons, with a certified copy of the within Judgment and

Commitment.

United States Marshal
By
Date Deputy Marshal

 

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CERTIFICATE ey
[hereby attest and certify this date that the foregoing document is a full, true and correct copy of the origifial on file
in my office, and in my legal custody. wi

Clerk, U.S. District Court

By
Filed Date Deputy Clerk

 

 

FOR U.S. PROBATION OFFICE USE ONLY

Upon a finding of violation of probation or supervised release, | understand that the court may (1) revoke supervision,
(2) extend the term of supervision, and/or (3) modify the conditions of supervision.

These conditions have been read to me. I fully understand the conditions and have been provided a copy of
them.

 

 

(Signed)
Defendant Date

 

 

U. S. Probation Officer/Designated Witness Date

 

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